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                  EXHIBIT 9
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Secure Communities: Statistical Monitoring
(last revised Nov. 16, 2011)

The Secure Communities program works after fingerprints submitted by police to the FBI for checks
against various criminal justice databases are checked in turn against Department of Homeland
Security (DHS) databases, revealing which fingerprinted arrestees may be removable aliens. Usually
in a matter of hours after fingerprinting, U.S. Immigration and Customs Enforcement (ICE) receives
the names of possibly removable alien arrestees and can determine the appropriate immigration
enforcement action. Secure Communities’ principal tool for identification of such persons is its use of
“IDENT/IAFIS interoperability”—a data conduit connecting the FBI’s Integrated Automated
Fingerprint Identification System (IAFIS) with DHS US-VISIT’s Automated Biometric Identification
System (IDENT).

The data and information available to DHS as a result of Secure Communities’ use of IDENT/IAFIS
interoperability offer a window into policing practices that may help identify potential civil rights
problems linked to the program. DHS is committed to ensuring the Secure Communities program
incorporates robust civil rights oversight. To that end, the DHS Office for Civil Rights and Civil
Liberties (CRCL) and ICE have developed a three-part process for identifying jurisdictions in which
further analysis and possibly oversight measures may be warranted:

        Statistical monitoring to detect anomalous jurisdictions;
        Statistical analysis to understand those anomalies; and
        Direct investigation of unresolved anomalies and civil rights complaints.

A. Statistical monitoring
In June 2011 ICE Director John Morton and DHS Officer for Civil Rights and Civil Liberties Margo
Schlanger announced DHS’s plan for a quarterly review of Secure Communities-related statistics.
This statistical monitoring initiative is conducted by CRCL staff and an academic expert in
criminological statistics, assisted by ICE staff. The statistical monitoring is designed to identify
jurisdictions with statistically anomalous data. These jurisdictions then receive additional, in-depth
analysis. A statistical anomaly does not conclusively determine that the jurisdiction is making
inappropriate or unlawful arrests. Some anomalies are likely to be pure artifacts of the limited data
available, and not, upon examination, probative of improper practices.
The statistical metrics that have been designed for this initiative aim to identify a set of jurisdictions
for additional analysis, based on the limited available information. The statistical monitoring relies on
several forms of data available from federal sources:

        Fingerprint submission counts, reflecting all fingerprint submissions to the FBI’s IAFIS in
         counties in which Secure Communities is activated;
        Alien fingerprint match counts, indicating that a fingerprint submission corresponds to a
         record of an alien in the DHS IDENT database;




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      American Community Survey (ACS) data on the total and foreign-born population by
       jurisdiction, produced by the U.S. Census Bureau (we use the 5-year survey estimates,
       currently covering years 2005-09, and will update as new data are released); and
      Uniform Crime Reports (UCR) data on the number and types of arrests, by reporting agency,
       produced by the FBI as one of its national crime-reporting programs. The raw FBI data are
       adjusted to account for variation in coverage among agencies, and then categorized to
       approximately track the distinction between aggravated felonies and other arrests. (We use
       2008 data, the latest analyzable dataset.)
We aggregate all data at the county level, and remove from the analysis counties with so few IDENT
matches that meaningful statistical analysis is impossible. Results are then separated between larger
(over 100,000 population) and smaller (under 100,000) counties, which tracks a county-size division
used by the UCR. All counties that are activated in Secure Communities for at least one full quarter
are analyzed. For states that do not participate in the UCR program, we substitute state-level crime
reporting data, if data comparable to the UCR are available. When comparing quarterly Secure
Communities data to annual UCR data, we divide the annual UCR figure by four to obtain an average
quarterly value.
The purpose of the review is to choose appropriate jurisdictions for additional analysis; this will focus
on jurisdictions that rank in the top ten among larger counties, or in the top five among smaller
counties, on one of the first two metrics described here; rankings on the third metric primarily serve to
check and prioritize among the jurisdictions that rank high on the first two metrics. To the extent
resources permit, additional jurisdictions may also be analyzed further.

1. Foreign-born arrestee comparison
   Compares IDENT matches as a portion of all fingerprint submissions with foreign-born
   proportion of population

Secure Communities’ use of IDENT/IAFIS interoperability examines individuals whom IDENT
identifies as aliens—“alien IDENT matches.” IDENT records of known U.S. citizens are disregarded
by Secure Communities.

The first data metric compares the fraction of a county’s arrestees who are alien IDENT
matches to the fraction of the county’s population that is foreign-born, as determined by the
ACS. We then rank jurisdictions by the extent to which the rate of alien IDENT matches
exceeds the foreign-born population.

                                                              IDENT Matches
               Foreign Born Arrestee Comparison=            IAFIS Submissions
                                                             % Foreign Born

For example, in a jurisdiction where 20% of submitted fingerprints lead to an alien IDENT match, but
the underlying population is 5% foreign-born, this metric will be 4—and the jurisdiction will rank
higher than a jurisdiction where 20% of arrests are IDENT matches but 10% of the population is
foreign-born, for which the metric is 2. Jurisdictions that rank high on this measure seem appropriate
for further analysis because those are the jurisdictions where aliens appear to constitute a significantly


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greater fraction of the arrested population than they do of the general population. Sample data and
calculations are provided in part 4, below.
This metric has four important limitations, the first two of which we are working to address across all
jurisdictions, and the last two of which can be taken account of in followup analysis:
       1. Sometimes individuals who are arrested and booked are fingerprinted more than once at
          different points in the criminal justice process. The rate at which individuals are fingerprinted
          multiple times in the process—and accordingly appear more than once in our data set—varies
          from place to place (although early review indicates that the variation is small), and could
          affect the ratio of matches to submissions in particular jurisdictions. We are investigating this
          duplication issue and may in the future adjust the metric to account for variations in duplication
          rates between counties. (The second metric, described below, is duplication-adjusted, which
          minimizes the impact of this data imperfection.)

       2. IDENT does not cover the foreign-born population at a uniform rate across jurisdictions.
          Persons who have entered without inspection (as by illegally crossing the border between ports
          of entry), and have no prior encounter with federal immigration agencies, will generally not be
          in IDENT. Communities where such persons make up a higher percentage of aliens will have
          a lower IDENT match rate, relative to the total foreign-born population, than will communities
          where most foreign-born persons, including illegal aliens, entered after inspection (such as by
          overstaying after expiration of a visa). ICE is working to better understand variation in IDENT
          coverage of the foreign-born population.

       3. In some jurisdictions, a substantial percentage of arrests may be individuals who reside outside
          the jurisdiction. These could include low-population jurisdictions where many arrests involve
          vehicles on a major thruway, urban jurisdictions where a significant fraction of arrestees live in
          adjacent jurisdictions but travel back and forth, or other patterns. A significant mismatch
          between the offender and resident populations could impact the metric, irrespective of
          particular policing practices, as a result of the comparison to the foreign-born resident
          population of the jurisdiction.

       4. This metric could be skewed in jurisdictions that experienced a significant recent change in the
          foreign-born population that was not yet captured by the latest available ACS data.

2. Foreign-born crime comparison
       Compares alien arrest patterns to underlying crime rates

Once a fingerprint submission is identified as an alien IDENT match, ICE’s Law Enforcement Support
Center (LESC) reviews additional databases to determine the individual’s criminal history, for
purposes of resource prioritization. The LESC flags individuals who have a prior confirmed
conviction for an aggravated felony or are known to have just been arrested for an aggravated felony.
(“Aggravated felony” is a term of art in immigration law.1) We utilize the LESC’s limited separation
of aggravated felonies from other felonies and misdemeanors for the second data metric; those aliens


1
    See 8 U.S.C. § 1101(a)(43) (defining “aggravated felony” to include a wide range of violent and non-violent crimes).


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who have no known prior conviction for, or current arrest for, an aggravated felony are designated
“LESC L2&3.”
The second data metric compares the number of IDENT-matched aliens arrested for non-
aggravated felonies and misdemeanors (and with no prior conviction for an aggravated felony)
to the jurisdiction’s overall rate of such arrests, adjusted for the percentage of the jurisdiction’s
population that is foreign-born. Patterns showing aliens are arrested at a high rate for minor crimes,
relative to their proportion within the population and the underlying crime incidence may warrant
further analysis.


                                                                            LESC L2&L3
        Foreign Born Crime Comparison=
                                                        1
                                                          UCR NonAgg.Fel.Arrests× % Foreign Born
                                                        4

For example, suppose in one quarter County A has 50 IDENT matches for lesser crimes by aliens
without a known aggravated felony conviction, that it usually has 500 total arrests for lesser crimes in
a quarter (2000 in a year), and that its population is 2% foreign-born. So 1 in 10 lesser-crime arrests is
of an alien whose fingerprints are in IDENT, even though only 1 in 50 people are foreign-born. This
metric would therefore be 5. If in County B, the same rate of 1 in 10 lesser-crime arrests involves an
alien, but the underlying population of County B is 10% foreign-born, this metric would be just 1. For
counties that rank high with respect to this metric, the rate of alien arrests for crimes other than
aggravated felonies appears disproportionate to the underlying population, which could stem from
skewed police attention to lesser crimes committed by aliens, or from a variety of other
circumstances.
This metric has five important limitations; again, we are taking each of these into account:
    1. Although for this metric, we attempt to control for the duplication problem described as
       limitation (1) in the discussion of the first metric above, that ameliorates but does not eliminate
       duplication as an issue. Where possible, we reduce the duplication problem for the Foreign
       Born Crime Comparison by adjusting each jurisdiction’s LESC L2&3 number by a duplication
       multiple (calculated by examining all of the IDENT matches in that jurisdiction in a nine-
       month period to identify multiple submissions2). Most jurisdictions have relatively similar
       duplication rates, so this adjustment materially affects the relative order of only a small fraction
       of jurisdictions.

         The duplication rate cannot be calculated for some jurisdictions for technical reasons related to
         the format in which they submit fingerprints to FBI (“National Fingerprint File” (NFF) states).
         For those jurisdictions, we adjust by the mean duplication rate from similarly-sized counties.

    2. The mobile-population issue, described as limitation (3) of the first metric above.

2
 The nine-month window for determining when multiple fingerprint submissions are likely to have arisen from a single
arrest rather than multiple arrests of the same individual was chosen as a reasonable assumption regarding the length of an
arrest cycle. While a different time frame might yield somewhat different duplication results, the range of values is
sufficiently small that we believe that the choice of de-duplication interval is not a significant factor in the rankings on this
metric.


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    3. Aligning underlying crime data with the LESC’s separation of aggravated felonies from other
       crimes is imperfect, as “aggravated felony” is not a category used by the UCR. Many offenses
       tracked by the UCR may or may not qualify as aggravated felonies in particular circumstances,
       but this metric necessarily makes a categorical distinction among UCR crimes.3

    4. Not all counties participate in the UCR, and so may not have comparable underlying crime
       rates for us to review; we use other arrest data, where it is available and comparable to UCR,
       but some jurisdictions cannot be reviewed with this comparison.

    5. The most significant limitation results from LESC’s operational goal of responding to each
       Secure Communities inquiry within four hours, and the fact that the data the LESC receives
       directly from IDENT/IAFIS interoperability do not include any information on the crime for
       which the individual was arrested and fingerprinted. While the LESC attempts to obtain both
       prior criminal history and information on the instant arrest, its ability to obtain instant-arrest
       information in its limited window of time is highly constrained. As a result, some alien
       IDENT matches that result from an arrest for an aggravated felony are not categorized as Level
       1 leads by the LESC (though ICE field agents escalate a case’s priority once they obtain
       information on an aggravated felony arrest). And, conversely, some aliens are classified as
       Level 1 leads by LESC not because of their instant arrest, but because of a known prior
       conviction for an aggravated felony. ICE and the FBI are working on advanced software and
       data-flow procedures that will eventually enable the LESC to have closer to real-time
       information on the severity of instant arrests, but until that technology is available—in a few
       years—LESC data is of real but limited value in determining the kinds of arrests law
       enforcement agencies are making. ICE has, however, undertaken a short-term study to better
       estimate the proportion of aliens categorized as LESC L1 on each applicable basis. When that
       study is complete, we may be able to improve this metric.

3. Identified alien crime severity comparison
    Compares the severity of offenses among IDENT-identified arrested aliens with the severity among
    the entire population of arrestees
The third metric compares the relative incidence of lesser crimes as a fraction of all crimes among the
general population and the alien population. Like the second metric, the third metric utilizes the
LESC’s separation of alien IDENT matches with immediate arrests for, or readily available confirmed
convictions for, aggravated felonies, from the other alien IDENT matches.

We compare the ratio of less-serious crimes to all arrests in the IDENT matches to the
comparable ratio in general crime data.

                                                           LESC L2&L3
                                                        ቀ               ቁ
        Identified Alien Crime Severity Comparison =     IDENT  Matches
                                                      UCR NonAgg.Fel.Arrests
                                                     ൬                       ൰
                                                         All UCR Arrests


3
 UCR categories DRGSALE, MURDER, RAPE, AGASSLT, ARSON, BURGLRY, ROBBERY, EMBEZL, and WEAPONS are mapped as
aggravated felonies, and all other categories to other crimes.


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Adding to the same County A figures used above, suppose County A has 50 IDENT matches for lesser
crimes (by aliens without a prior aggravated felony conviction), out of 75 total IDENT matches.
Among all arrests, as reported to the UCR, it has 500 total arrests for lesser crimes, out of 750 total
crimes, in a year. Following the formula above, this metric would be 1. If County B has all the same
figures, except that the total UCR arrests were 1000, this metric would be 1.33. If a county has a high
rank on this metric, it could suggest that enforcement among aliens is particularly concentrated on
minor crimes—arrests for which are more often (but not always) discretionary, and therefore the areas
in which bias might occur. Again, however, there are many reasons for such a result, and the purpose
of this tool is to identify jurisdictions for further analysis.
The formula used for this comparison has the advantage that it should not be affected by duplicate
submissions of fingerprints at various points in the criminal justice process. Otherwise, however, it
shares the limitations discussed for the second metric. Moreover, because of its sensitivity to small
numbers, we only calculate this number for jurisdictions with at least 5 IDENT matches in the quarter.
This metric is principally used to rank jurisdictions that have been identified through one of the prior
two metrics; a jurisdiction that ranks highly only on this metric is unlikely to be a primary focus for
further analysis at this time.
                                               *   *    *
It is important to remember that ranking jurisdictions, which focuses on the differences among them,
should compensate for some of the data issues described above. In addition, the monitoring we intend
is not akin to an indictment or other declaration of wrongdoing but rather simply a nomination for
additional analysis. To date, ICE and CRCL have been through two quarters of data. We used data
from the second quarter of FY 2011 to refine the metrics; the third quarter of FY 2011 allowed the first
use of the statistical monitoring methodology. We have begun follow-up steps (explained in section B
below).

4. Sample Data and Calculations

The data and metrics are contained in a flat spreadsheet with one record per jurisdiction (county or
county-equivalent). The sample data below illustrate the fields involved in the monitoring metrics
described in this document. (The database also contains additional information on ICE activity.)

Table 1. Sample data used for Secure Communities quarterly reviews
Sample data: These are not real counties.
                                                                                LESC LESC Level
                                                                               Level 1 2&3 (Other
                                 %                 Est.                         (Agg.     Felony/
                              Foreign- Est. Agg. Lesser            Fingerprint Felony) Misdemeanor)
                       County  born     Felony   Crime Duplication Submissions Matches   Matches
 State CountyPopulation Size Residents Arrests Arrests Multiplier (quarter) (quarter) (quarter)
  XX Smith 404,922      large 30.07%     2,316   12,409  1.310        4,524      48         533
  XY    Ng    332,059   large 10.09%     1,719    8,755  1.662        2,899      11         70
  YZ Greene 177,685     large 17.77%      446    4,272   1.122        1,723      11         109




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These three large (and fictional) counties (population over 100,000) have certain similarities, but
enough dissimilarities to be difficult to compare directly: Smith is twice as large as Greene, while Ng
falls in the middle; but Smith has three times, and Greene nearly twice, the foreign-born population of
Ng. Smith has the highest overall crime rate (36 crimes per thousand population), and Greene both the
lowest (26 crimes per thousand) and the least serious (10% of crimes are aggravated felonies,
compared to about 16% in Smith and Ng). But it is difficult to determine, just from the raw data, how
the jurisdictions compare with respect to indicia of policing practices disproportionately directed at
minor crimes by foreign-born persons.

We can then compute the metrics:

Table 2. Sample Secure Communities monitoring metrics
Sample data: These are not real counties.
                                                   (2)
               (1)                            Foreign-born
          Foreign-born                            Crime              (3)
            Arrestee     Foreign-born Crime   Comparison,     Identified Alien
          Comparison      Comparison, Raw     Deduplicated    Crime Severity
County      (quarter)         (quarter)         (quarter)       Comparison
 Smith        0.427             0.571             0.436              1.1
  Ng          0.277             0.317             0.191             1.04
Greene        0.392             0.574             0.512              1.1


Smith ranks highest on metric 1, while Greene ranks highest on metric 2. Smith and Greene rank
comparably on metric 3. Our attention should focus on those two counties; metric 3 provides
additional assurance that Ng is of less concern.

5. Improvements Underway

Better real-time arrest data. ICE does not currently receive analyzable data on the nature of the arrest
for which a fingerprint submission is being made. In other words, we do not know in real time whether
a submission is based on a traffic offense or a violent crime. Accordingly, we rely on follow-up ICE
investigations to make that data available in ICE record systems. Improvements to ICE systems are
now underway that will significantly improve real-time data on the crime prompting an arrest; our
statistical detection tools will improve once that software, part of what ICE terms the Automated
Threat Prioritization initiative, is in place, and the data passed to ICE through interoperability includes
a data field on the offense prompting the instant arrest.

De-duplication. As noted above, one possible reason for anomalous arrests rates of certain types could
be a local practice of running fingerprints at multiple stages of criminal justice processing.
Systematically re-printing individuals would increase biometric submissions, relative to a jurisdiction
that only submits prints once per arrestee, without reflecting any meaningful enforcement difference.
Pursuing this issue requires cooperation and assistance from US-VISIT, the custodian of the IDENT
database, as well as FBI, the custodian of the IAFIS database. That work is well underway.




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B. Statistical analysis
Many of the statistical anomalies identified in the statistical monitoring procedure likely reflect local
crime patterns and legitimate law-enforcement practices. Further statistical analysis will need to be
conducted to determine how to account for those anomalous patterns. For example, if a state LEA’s
mission primarily involves highway patrol, it should have a high rate of traffic stops relative to other
arrests. Again, these investigations will be conducted with ICE’s resources and assisted by an expert
criminology statistician retained by CRCL.

Because research will require utilization of data collected by local or state authorities, each of whom
have their own reporting requirements as to extent, frequency, data fields included, and the like,4 it
will need to be individualized for each jurisdiction. Because it is local, statistical analysis necessarily
relies on a mosaic of data sources and a research design particularized to the enforcement and
information environment. The primary goal for this research will be to obtain data to provide the most
accurate possible assessment of LEA policing practice. We anticipate that in some cases data will be
easily obtained in a form that is easily analyzed. In other situations it may be more expedient to move
to a direct investigation simply because the data collection effort would take more resources than
investigation itself.

ICE and CRCL are committed to the following steps:

       Compare current-quarter statistical metrics to results in other quarters
       Review ICE administrative arrest and removal statistics from the jurisdiction
       Identify any weaknesses in existing data (low or missing coverage for overall crime statistics)
       Conduct further database research on the jurisdiction, including:
           o Additional data on citizenship, other characteristics of the foreign-born population
           o Additional arrest and crime data, where available, including the FBI National Incident-
              Based Reporting System (NIBRS)
       For agencies that also participate in ICE’s 287(g) program, review additional data submitted
        through that program
       ICE ERO contacts to the local Field Office to identify possible causes of the statistical
        anomaly, potentially including:
           o Changes in local law, policy, or political/law enforcement leadership
           o Demographic characteristics or changes not captured by Census Bureau data
           o Geographic features (proximity to other population centers, major highways, etc.)
           o Local data discovery and data entry practices
           o Perceptions of local policing practices, particularly with respect to minor crimes and
              with respect to racial/ethnic minorities

4
  For example, Florida does not fully participate in the FBI’s UCR program, but provides very similar arrest data through
its own Statistical Analysis Center. See Florida Department of Law Enforcement: Florida Statistical Analysis Center:
Uniform Crime Reports, at http://www.fdle.state.fl.us/Content/getdoc/a324add7-5dd6-4201-9696-93bfd76bc36c/UCR­
Home.aspx (last visited July 18, 2011).


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        Review arrest and conviction history of individuals identified through Secure Communities,
         particularly those identified on the basis of a misdemeanor arrest
        Review news accounts, nongovernmental organization reports, and any complaints submitted
         to ICE or CRCL concerning law enforcement practices in the jurisdiction
        Determine relevant DHS jurisdiction under Title VI of the Civil Rights Act of 1964
        Notify Department of Justice that the jurisdiction is undergoing analysis

C. Direct investigation
Where statistical analysis leaves open questions, or where ICE or CRCL have received a complaint
meriting investigation, we will move to direct, non-statistical investigation.5 The investigations will
involve, as appropriate for each situation:
        Interviews with complainants;
        Cooperation with ICE, especially field office personnel, to understand jurisdiction- and LEA-
         specific factors;
        Requests for production of documents from the LEA being investigated (as well as, perhaps,
         related LEAs—such as a sheriff’s department that runs the jail used by an LEA under
         investigation);
        Determination of DHS’s Title VI jurisdiction over the subject LEA;
        Notification of the Department of Justice, Civil Rights Division; and
        Interviews, site visits, and other in-person investigative methods.

We anticipate that law enforcement agencies will voluntarily cooperate with our investigations. If
necessary, additional tools exist for securing that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS’s Title VI
authority if appropriate.




5
 See Memorandum for All ICE and CRCL Personnel from Margo Schlanger, Officer for Civil Rights and Civil Liberties,
and Gary Mead, Executive Associate Director, ICE, regarding Secure Communities Complaints Involving State or Local
Law Enforcement Agencies (June 14, 2011), at http://www.ice.gov/doclib/secure-communities/pdf/complaintprotocol.pdf.


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